Case 2:19-mj- -30639-DUTY ECF No. 1; PagelD. 1. Filed 12/06/19 Page 1of9

 

AUSA: Iulie Beck Telephone: (313) 226-9717
AO 91.(Rev. 11/11). Criminal Complaint Agent: Bradley Cioma Telephone: (313) 965-2323
UNITED STATES DISTRICT COURT

for the CO Q

United States of America

Eastern District of Michigan

 

 

 

ov, f
Matthew Byrd - | Case:2:19-mj-30639
| Judge: Unassigned,
| Filed: 12-06-2019 At 09:49 AM
USA v. SEALED MATTER(CMP)(MLW)
CRIMINAL COMPLAINT
I, the complainant i in this case, state that the following i is true to the best of my knowledge and belief.
_. On or about the date(s) of October 20, 2019.- November 20, 2019 in the county of. Wayne in the
Eastern District of —Michigan - SD_ , the defendant(s) violated:
Code Section Offense Description

Title 21, United States Code, Sections 841000),
(b)1(C) and 846.

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet.

Sworn to before nie and signed in my presence. _
December 6, 2019
| Date: “September 12; 20T9s—

City and state: Detroit, Michigan. .

Distribution of Controlled Substances resulting in serious

bodily injury or death; Possession WithIntent to Distribute

Controlled Substances & Conspiracy to Possess with Intent to
Distribute Controlled Substances.

 

Complainant’s signature

Bradley Cioma, Special Agent, FBI
Printed name and title

Go Pa

Judge’s signature -

 

Honorable ‘Anthony Patti, U.S. Magistrate Judge
Printed name and title’ —

4
Case 2:19-mj-30639-DUTY ECF No. 1, PagelD.2 Filed 12/06/19 Page 2 of 9

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
I, Bradley Cioma, being first duly sworn, hereby depose and state as follows:
Introduction and Background

1. I am a Special Agent with the FBI, and have been since May of 2017.
I am assigned currently to the FBI Detroit Division’s Violent Crime Task Force
(“VCTF”). Prior to working at the FBI, I was a police officer for six years in
Plymouth Township, Michigan. I have conducted dozens of investigations of
federal and state violations, including crimes of violence, firearms, and drug
trafficking. I have gained experience through training and everyday work related
experience in these types of investigations.

2. The statements contained in this Affidavit are based on my experience
and background as a special agent and on information provided by police officers,
other agents of the FBI, and other law enforcement personnel, communications
with others who have personal knowledge of the events and circumstances
described herein, and information gained through training and experience.

3. This affidavit is made in support of a criminal complaint against
Matthew Fahrod BYRD for violations of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C),
Distribution of Controlled Substances Resulting in Serious Bodily Injury or Death;

21 U.S.C. § 841 (a)(1), Possession with Intent to Distribute Controlled Substances;
Case 2:19-mj-30639-DUTY ECF No. 1, PagelD.3 . Filed 12/06/19 Page 3 of 9

and 21 U.S.C. § 846, Conspiracy to Possess with Intent to Distribute Controlled
Substances.

4. The information outlined below is provided for the limited purpose of
establishing probable cause and does not contain all the information known to law
enforcement related to this investigation. I have set forth only those facts that I
believe are necessary to establish probable cause to believe that BYRD violated 21
U.S.C. §§ 841(a)(1), 841 pach and 846.

MM if ho -€,

5. From about Geiober20, 2019, through and including November 20,
2019, VCTE used fixed surveillance in the area of 3343-3345 Hogarth Street,
Detroit, Michigan. The fixed surveillance observed frequent foot traffic by
pedestrians walking up to the residence, knocking on the front door, waiting a short |
amount of time, conversing with someone at the front door, continuing to wait and
then leaving after conversing with someone who answered the front door and only
opened it a crack. This is consistent with physical surveillance observations by
. VCTE, and it is consistent with drug trafficking,

6. _ On November 20, 2019 a Source of Information (SO1) contacted a
VCTF member and advised that victim DR had just purchased illegal narcotics
from 3343-3345 Hogarth Street and overdosed. SOI advised that the Detroit Police

Department and local ambulances were on scene at 3269 Hogarth Street, Detroit,

Michigan, which is approximately six houses away from 3343-3345 Hogarth
~ Case 2:19-mj-30639-DUTY ECF No. 1, PagelD.4 Filed 12/06/19 Page 4 of 9

Street. VCTF members confirmed this information with the Detroit Police
_ Department and discovered that DR was pronounced dead with an initial cause of
death being an overdose of illegal narcotics at approximately 4:30 pm.
7. VCTF members reviewed the fixed surveillance on 3343-3345 Hogarth
Street and observed a male riding a bicycle go up to the residence at approximately
3:52 pm, set his bicycle down and walk onto the front porch of the residence. The
. male was on the front porch for approximately a couple of minutes and appeared to
converse with someone at the front door; the front door was seen opening and
closing. The male then left the front porch, got on his bicycle and rode down Hogarth
Street at approximately 3 55 pm. A still image of this male riding the bicycle and
walking up to the house was shown to SOI. SOI confirmed that the subject was DR.
Furthermore, SOI stated that SOI physically observed DR tide the bicycle up to
3343-3345 Hogarth Street with the intent to purchase illegal narcotics from that
location. SOI then observed DR ride the bicycle back from 3343-3345 Hogarth Street
to the location where DR was discovered by the Detroit Police Department and the |
local ambulance. sol further stated that SOI observed DR injecting illegal narcotics
into DR’s person after returning from 3343-3345 Hogarth Street at 3269 Hogarth St,
Detroit, Michigan.
8. As part of this investigation VCTF members were getting cell phone

location information for phone number 3 13-826-93 97 identifying the location of the

Z
Case 2:19-mj-30639-DUTY ECF No. 1, PagelD.5 Filed 12/06/19 Page 5 of 9

cellular device. This cellular device is utilized by BYRD, and is the phone number
Sor used to contact BYRD to purchase narcotics as documented in paragraphs 19-
24

9 At the approximate time DR was on the front porch of 3343-3345
Hogarth Street, the cell phone location information for phone number 313-826-9397 —
showed that the cellular device was in the approximate area of 3343-3345 Hogarth
Street

10. Later that evening, on November 20, 2019 at approximately 7:12 pm,
VCTF members executed a search warrant at 3343-3345 Hogarth Street, Prior to
making entry into 3343-3345 Hogarth Street, BYRD was observed exiting 3343-

3345 Hogarth Street and walking down Hogarth Street. BYRD had an active felony
watrant for carrying a concealed weapon. VCTF members made contact with BYRD
and placed him in custody for his felony warrant. On BYRD’s person was a cellular
device whose number was confirmed as 3 13-826-93 97. In addition, on BYRD’s
person was approximately $2,860.00 in US currency in different denominations.

11. Once the residence was secured, law enforcement officers executed a
search and found the following items: approximately $72 1.00 in US currency in
different denominations (predominantly smaller bills), digital scales, white residue on
the table in the dining room, approximately seven knotted plastic baggies, later

/

verified to contain illegal narcotics, sitting on the dining room table, two cellular

4
v
Case 2:19-mj-30639-DUTY ECF.No. 1, PagelD.6 Filed 12/06/19 Page 6 of 9

phones, approximately five bullets, and numerous proof of residency documents with
Matthew BYRD’s name on them.

12. Lab results verify that cocaine residue was on the digital scales. Lab
results further verify that the seven knotted plastic baggies contained fentanyl and
heroin.

13. As part of the investigation, law enforcement officers conducted
physical surveillance at 3343 -3345 Hogarth Street in October of 2019. Specifically,
on October 21, 2019, in a 20-minute timeframe, officers observed several different
individuals arrive at the location in vehicles or on foot, go up to the front door,
knock, put their hands through a slim opening in the doorway, exit the porch and
leave. This activity is consistent with drug transactions. One of the individuals
observed appeared to be BYRD, who exited Hogarth and re-entered shortly
thereafter.

14. VCTF also arranged for two controlled purchases from 3343-3345
Hogarth Street in October of 2019 through SOI. SOI is a reliable source who
maintains excellent access with VCTF members as well as the subjects with whom
he is interacting for the controlled buys, and whose reporting has been previously
corroborated.

15. Controlled Buy 1: During the fourth week of October 2019 at

approximately 1 1:00 am, members of the VCTF and SOI conducted a controlled
Case 2:19-mj-30639-DUTY ECF No. 1, PagelD.7 Filed 12/06/19 Page 7 of 9

purchase of crack cocaine from BYRD. VCTF members met with SOI at a pre-
arranged location and issued SOI a recording device. SOI was searched by VCTF
members for contraband with negative results. In the presence of VCTF members,
sol contacted BYRD at 313-826-9397 to arrange to meet with BYRD at 3343-3345
Hogarth Street, to purchase approximately five grams of crack cocaine from BYRD.
BYRD requested that SOI meet him at a pre-arranged location nearby.

16. Prior to SOI making contact with BYRD, VCTF members were on
surveillance in the area of 3343-3345 Hogarth Street and observed BYRD exit and
re-enter 3343-3345 Hogarth Street.

17. SOI was given $360.00 in pre-recorded government funds and was
observed by VCTF members approaching the area of the pre-arranged location where
SOI met with BYRD. SOI purchased approximately six grams of crack cocaine from
BYRD. Members of the VCTF were monitoring the audio of the purchase remotely as
it was happening. SOI and BYRD were then observed by members of the VCTF
exiting the pre-arranged location.

18. VCTF members conducted surveillance on 3343-3345 Hogarth Street
prior to and after the controlled purchase by SOI. VCTF members observed several
individuals approach 3343-3345 Hogarth Street on foot or in vehicles, stay for a short

period of time and exit the property.
Case 2:19-mj-30639-DUTY ECF No.1, PagelD.8 Filed 12/06/19 Page 8 of 9

19. Controlled Buy 2: During the fifth week of October 2019 at
approximately 9:30 am, members of the VCTF and a SOI conducted a controlled
purchase of crack cocaine from 3343-3345 Hogarth Street. VCTF members followed
the same protocol described for the first controlled purchase.

20. SOI was given $180.00 in pre-recorded government funds. SOI
approached the front door and knocked. A male answered the door, took SOI’s money,
closed the front door and moments later handed SOI 2.2 grams of crack cocaine.

21. The subject took SOI’s money, closed the front door and moments later
handed SOI 2.2 grams of crack cocaine. During the purchase the following addresses,
3345 and 3343, were visible on the left and right sides of the front door to 3343-3345
Hogarth Street.

BYRD’s Criminal History
22. BYRD has the following felony convictions on his record:

» May 2001 - Felony — Armed Robbery (three counts)

" May 2001 - Felony _ Felony Firearm

» May 2001 — Felony — Felony Firearm

= May 2001 — Felony — Armed Robbery (two counts)

=» August 2014 — F elony — Breaking and Entering a Building (two counts)
« August 2014 — Felony — Possession of Burglary Tools

# April 2017 — Felony — Carrying Concealed Weapon Habitual Offender
Case 2:19-mj-30639-DUTY. ECF No. 1, PagelD.9 Filed 12/06/19 Page 9 of 9

(Pled NOLO CONTD).
23. BYRD had the following active Felony Warrant:

1. Carrying a Concealed Weapon, “Wayne County Sheriff s Office 3r4
Circuit Court, No Bond - .

24. Based on the above information, probable cause exists to believe that
Matthew Fahrod BYRD, violated 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), Distribution .
of Controlled Substances Resulting in Serious Bodily Injury or Death; 21 U.S.C.
§ 841(a)(1); Possession with Intent to Distribute Controlled Substances; and 21US.C.

§ 846, Conspiracy to Possess with Intent to Distribute Controlled Substances.

SBD
. . ‘lone J
Special Agent, FBI

Sworn to before me and signed in my presence
and/or by reliable electronic means.

 

Honorable Anthony P. Patti
United States Magistrate Judge

 

Dated: Decenber £20 14
